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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

LEE CUMMINGS
ON BEHALF OF HIMSELF AND
OTHERS SIMILARLY SITUATED,

      Plaintiff,

v.                                                 CASE NO. 3:20cv5412-MCR-MJF

KNOWLES ON SITE REPAIR INC, et al.,

      Defendants.
                                            /

                                           ORDER

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated November 4, 2021. ECF No. 68. The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). There are no timely filed objections.

      Having considered the Report and Recommendation, and the record, I have

determined that the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.

      2.     Defendants’ “Motion for Sanctions,” ECF No. 61, is GRANTED.
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      3.     Plaintiff Jeremy Byrd’s and Alexxander Taylor’s opt-in consents, ECF

Nos. 17, 41, are struck and their claims are DISMISSED with prejudice.

      4.     Defendants’ request for attorney’s fees is GRANTED. Within SEVEN

(7) DAYS of this Order, Defendants shall confer with Plaintiffs’ counsel to see if

they can agree on the amount of attorney’s fees that should be awarded and, within

FOURTEEN (14) DAYS, file an accounting of the attorney’s fees incurred in

preparing and filing their motion for sanctions or a notice that the parties have agreed

on the appropriate amount.

      DONE AND ORDERED this 3rd day of December 2021.




                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
